STATE OF OHIO |) IN THE COURT OF COMMON PLEAS
| ) ss.
COUNTY. OF MAHONING } CASE NO. 2015 cr 538

STATE OF OHTO !
Plaintifs

}
)
) DEFENDANT!
)
-Vs- ) TRANSCRIPT oF PROCEEDINGS
)
MARQUAN TREVATI, WHITE ‘) MOTION HEARING

) 3

)

Defendant

APPEARANCES : Atty. Dawn Cantalamessa
. Atty. Shawn F-. Burns
On behalf of the State

Atty. Thomas E. Zena
Atty. Andrey R. Zellers
_ On behalf of the Defendant

Atty. James R. Wise
On behalf Of Kalilo Robinson

BE IT REMEMBERED that at the hearing of the

dl above-entitled cause, in the Court of Common Pleas,

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MS. CANTALAMESSa - We are here in Case
Number 15 cr 538, State of Ohio versus
Marquan White, Your Honor, we are here this
afternoon on, I guess, State's motion to take
the deposition Of one of the State's
witnesses. We do have that witness here,

Tt's our understanding that the witness! wish

THE COURT : Okay. Is that correct?
MR. ZELLERS: Yes, it is, Your Honor,
MS. CANTALAMESSa - Your Honor, at this

time the State would call] Kalilo Robinson to

the stand, . .

THE COURT: Okay. Let's get
Mr. Robinson on the Stand.

MR. ZENA: We are not conceding that
this gentleman is, quote, unavailable and

therefore a deposition is in order, but at

Come on up here.

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being first duly Sworn testified
as follows:

THE COURT: All right.

Come on up here
and sit down.

Here present in court Mr. Zena and
Mr. Zellers and their client.

Madam Prosecutor?

MS. CANTALAMESsa -

Thank you, Your
Honor, .

Good afternoon.

<THE COURT: Good afternoon.

Kalilo Robinson.
I'm sorry?
Kalilo Robinson.

THE COURT:

You have to speak up

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Mr. Robinson, okay? .

THE WITNESS: Kalilo Robinson.
Kalilo Robinson; is that correct?

Yes.
And how old are you, Kalilo?
I'm 19,
Nineteen?

THE COURT: Mr. Robinson, you have to
Speak up. [I Can't hear you. Again, your
name was, Mr. Robinson?

THE WITNESS: Kalilo Robinson.

THE COURT: There we go.

And how old are you?

Nineteen.

Mr. Robinson, could you tell us what happened

od on November 16 of the year 2014?

I plead the Fifth.

You plead the Fifth Amendment?
Yeah.

And are’ you refusing to testify concerning

il that event?

Respectfully, I am.

MS. CANTALAMESSA: Your Honor, at this

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time I would give to the Court a motion to
compel this witness to testify and an offer
of immunity.

THE COURT: I have just been handed
what's been titled with this caption of the
State versus Marquan White, Motion to Compel
Witness to Testify. It says, "Now comes the
State of Ohio, by and through the Assistant
County Prosecuting Attorney of Mahoning
County, and hereby moves this Court t6 order
the witness, Kalilo Robinson, to testify
concerning facts which are material to the
instant Case. Pursuant to the request, the
State will grant immunity to this witness
Pursuant to Revised Code Section 2945.44."

And this motion was Provided to -~ a
COPY aS a preview to the counsel, Mr. Wise
for Mr, Robinson; and Mr. Robinson and
Mr. Wise had the Opportunity to meet and
discuss whatever it is the attorney felt was
necessary for his client to understand.

Mr. Wise, you had that conversation with

your client; is that correct?

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MR. WISE: That is Correct, Your Honor.

THE COURT: And based on this Motion to
Compel, what is your posture as regards your
client?

Mr. Zena, do you want to say something?

MR. ZENA: The only thing I wanted to

Say, and I think I have Standing to Say this

MR. ZENA: Unless I am mistaken, I have
done this in the federal System, this is an
offer to move £0r immunity.

THE COURT: Yes.

MR. ZENA: You are the only one who can
grant immunity.

THE COURT: Yes,

MR. ZENA: And mostly what happens --~ f[
have seen in criminal culpability cases where
immunity iS granted by a Judge, a Judge makes
inguiry into what acts are you asking me to
bar this man for Prosecution for. The John

Gotti case is a perfect example of that.

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When the other defendant who was Charged with
Many murders, their offer of immunity was
extended, and they had to get into an entire
evidentiary hearing on what acts he Was going
to be immune from Prosecution on. So it's my
argument that immunity would require your
approval.

THE couRr:; I think we all understand
that, but fr do think that it is Necessary for
the state to indicate what it is immunity is
granted. In this Particular Statute, as T
See it, and I may be wrong -— and you, of
Course, can Correct me —~ this is a
transaction of immunity which is the type we
are dealing with rather than any others,

So with that being Said, Madam

Prosecutor, would you wish to Place on the

MS. CANTALAMESSa - Your Honor, we are
granting immunity to Mr. Robinson for the
Murder of Antwon Martinez on November 16;

2014,

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THE COURT: Mr. Wise?

MR. WISE: f have nothing.

THE COURT: Mr, Zena?

MR. ZENA: Well, the only thing I can

man, and we have received nothing Saying that

he is guilty of anything in that Case. So I

whatsoever, [ mean, the only thing he Said
in his Statements was that he was there, but
in his Statements he doesn't Say anything

about being involved in Lt at all, and I have

MS. CANTALAMESSaz - Your Honor, from the

beginning he has always said that he knew:

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that Antwon was going to be Killed from
Mascarella but he didn't know when. He saig
that on at least two Occasions, so he has
always said that. Now we ere now hearing
that he is claiming the Fifth, so he
obviously feels that he has some
incriminating evidence against himself that
he doesn't want to reveal. so that's the
Purpose in Claiming the Fifth, So we are
offering him immunity for that murder to Pine
out what that information is.

THE COURT: Mr. Wise, your response and
your client? IF you need time to talk to
your ¢clisent>

(WHEREUPON, a Giscussion was had between
Me. Wise and Mr. Rebinson off the record and
out of the hearing of the zest of the
participants, after which the proceedings
continued as follows:)

MR. WISE: My client wil] advise you
that even with the immunity that he chooses
not to testify.

THE COURT: so as of this point we have

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a witness who is available and refuses to
testify and a witness has asserted the Fifth
Amendment. And the state is Moving for the
Court to grant this defendant immunity from -
any of the acts that he may have Participated
in regarding —-

MR. ZENA: Excuse me, Your Honor. Seok
for the record Purposes, he is not
technically a defendant here. He is only a
witness here.

THE COURT: You are correct.

MR. ZENA: . Thank you, Your Honor,

THE COURT: In this Particular case you

are correct, he is Called as a witness.

Yeah,

was to occur, and that he Was present at the
time and Place of a murder, and that the
State believes that -~ T'm assuming, and you
are going to have to help me a Little more,
Madam Prosecutor —~ that there are some acts

he may have committed. And are you telling
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MS. CANTALAMESsa - Well, what we are

know what is incriminating. He hasn't given
any sort of incriminating Statement against
himself except for being present and knowing
about it. That's about it, But if he is
Saying he has further evidence that would
incriminate himself, we are offering him
immunity for that, and we want to be sure
that he knows that, and we Want you to compel
his testimony. We want you to order him to
testify.

MR. ZENA: The sum of that seems to be
if he did any acts, which we can't prove he
did, he would be offered immunity for those
acts, but we can't Prove that he did any of

them. That's basically what she said.

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MS. CANTALAMESga . Well, the defense is
talking in circles as well -—-—

THE COURT: Yeah,

MS . CANTALAMESSA: —_ because but for
this witness giving a Statement to the
police, his Client wouldn'¢ even be charged.

MR. ZENA: But this isn't about -- I'm
sorry, Your Honor ~~ this isn't about my
client now. This is about what position he
holds on that Stand.

THE COURT: Mr. Robinson?

MR. ZENA: That's correct. This isn't
about him at all. This is about offering

immunity to Somebody in case there are

MS. CANTALAMESsa - le ds immunity if we
can corroborate those acts, and we won't know
about it until he tells us.

MR. ZENA : We are going in circles.

THE COURT: Yeah, we are going in

Circles,

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Mr. Wise, anything you want to add?

MR. WISE: Your Honor, with all due
respect, and what I have heard on the record
this morning, first of ali, I understand that
this matter is a Pretrial hearing.

THE COURT: Yeah.

MR. WISE: In fact, this matter —~ we
are not in tria] —_ that he is obviously
available i¢ this was a trial.

THE COURT: Uh-huh.

MR. WISE: It's my understanding that
the Court is attempting to possibly
circumvent ~~ not circumvent his rights, but
to try and figure out what's going to happen
in the event Of a trial if he refuses to

testify or that the Prosecutor, in fact

indicated that he will, as he has indicated
to all of us he will. However, I don't
believe that even with the granting of
immunity by this Court, even if he continues

to refuse to- testify, he is not in contempt

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Since this matter -~ we're not in trial. Te
in fact, we had a jury impaneled and my
client was, in fact, subpoenaed to be here
and then refused, I think at that point he
could be held in contempt. But at this time
Io don't believe that @ contempt action is
warranted,

THE COURT: So the long and short of

your response is that we are premature in

Or not, one, he has refused to testify, ang

we don't have a trial. Whether he is

offer the immunity. SO are you Saying that
at this time your client is refusing to
testify today and is withholding that choice
of what action to take until the time of
trial? Is that what you are telling me?

MR. WISE: Your Honor, I believe that my

client, not to use the word "right" because

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i that doesnit —_ that might not be applicable.
2 He has a choice of who to speak to and who
3

“hot to speak to with fegard to this matter,

4 THE COURT: At this point, At this

5) point, juncture, yeah,

6 MR. WISE: At this Point he has a right
a not to talk to Attorney Zena, if Attorney
|

4ena wants to question him. f believe he has

10 doesn't want to because we are not in trial

1 THE COURT: { understand that. I guess
12 | my question to you was are we not premature

13) then in the entertaining the motion of

he is Called as a Witness ror trial, and then

at that time we determine whether or not he

refuses to testify or he refuses to testify

MR. WIsr- Yes, Your Honor,
MS. CANTALAMESSa - Would defense

counsel, Mr. Wise, agree then if he refuses

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to testify, he is unavailable then?

THE COURT: At the hearing?

MS. CANTALAMESSA - Yes,

MR. WISE: f[ believe the rule speaks to
unavailability ac trial. There has been no
Showing that he is unavailable eat trial until
the jury is impaneled and he at that point
Says, by the way, I'm moving to Cuba so -~

THE COURT: Yeah, I agree with you. TT

just think that what we are doing is going

Ms. CANTALAMESSa - For the record, Your
Honor, did You order Mr. Robinson to testify
and did he actually say he is refusing to
testify? :

THE COURT: No.

MS . CANTALAMESSA: Or did Mr. Wise say
that?

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the innuendo of what he May Or may not have
done, or that he is charged, And at that
point I do think that Mr. Zena is right, that
his Client, because of the effect it may have
on him, has the right to know what
culpability, ioe any, that Mr. Robinson has in
this event,

So the Court is going to hold in
abeyance any; decision on this matter until we
move to a trial date, and we Will then resume
this conversation at that time. Okay?

MS. CANTALAMESSa - Thank you, Your
Honor.

THE COURT: Al] right. Thank you very
much.

MR. WISE: Thank you, Your Honor.

MR. ZENA: Your Honor?

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THE CouRT. Yeah,
MR. ZENA: There is one other thing.

did not bring this up. Tt appears it Will be

our intention, and we have a written

document, LE wild be our intention to

Court to invoke Speedy trial. We understand

that if You do make that Order, the 99 days

Starts then. He gets no credit for anything

Prior, Whether Or Not -~

MS . CANTALAMESga - There is no 90 days

after Tévocation. It's a reasonable

timeframe, There is no 90 days, and they are

severed counts.
MR. ZENA- Excuse me,
THE COURT: Go ahead,
MR. ZENA: After we make the argument,

that it is actually a Mathematical formula

based on the murder Case, we are going to ask

that the -- that the Waiver of Speedy trial

be withdrawn, If you determine that will not

be the Case and it's a reasonable time,

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a¢ new 90 days ticking at that point then
that will] Start that. But it wouldn't start

ho matter when until after you made a ruling

on the motion,
THE COURT- Tr understand.

MR. ZENA: f want everyone to know that

is our intention.

MR. ZENa- Yes, Your Honor, Thank you,

Your Honor.

THE COURT: All right. We are in

recess. Thank you.

(WHEREUPON , Court was adjourned. }

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the hearing and at the time the evidence was

10 being introduced.

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